Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 1 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 2 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 3 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 4 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 5 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 6 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 7 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 8 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 9 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 10 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 11 of 12
Case 2:12-cr-00237-APG-CWH   Document 131   Filed 06/17/13   Page 12 of 12
